Case 1:21-cv-03126-TOR   ECF No. 10-1   filed 02/15/22   PageID.65 Page 1 of 6




                         EXHIBIT A
          Case 1:21-cv-03126-TOR                          ECF No. 10-1                  filed 02/15/22       PageID.66 Page 2 of 6

                                                                                         U.S. Department of Justice
                                                                                           United States Attorney's Office

                                                                                         Thomas S. Foley U.S. Courthouse       (509) 353-2767
                                                                                         Post Office Box 1494, Ste. 340  fa.x (509) 835-6397
                                                                                         Spokane, Washington 99210-1494


                                                                                         January 26, 2022

        Sent via first-class and certified mail

        Brian J. Waid
        Waid Law Office, PLLC
        5400 Californi_a Ave. SW, Suite D
        Seattle, WA 98136
                Also sent via email to avoid delay to: bjwaid@waidlawoffi.ee.conr

                  Re:         US. v. Rick Gray and Gray Farms & Cattle Co., LLC.,
                              Cause No. 1:21-CV-03126-TOR
                              NOTICE OF INTENT TO FILE A DEFAULT FOR FAILURE TO
                              APPEAR, ANSWER, OR RESPOND

        Dear Mr. Waid:

                You are receiving this Notice because more than 21 days has passed since each of your clients,
        Rick Gray and Gray Farms & Cattle Co., LLC, were each served with the Complaint and neither you nor
        your clients nor anybody on their behalf have responded to the Complaint. Unless your clients' each
        properly respond in this cause within fourteen (14) days from the date of this Notice, the United States
        will seek an entry of default, pursuant to Federal Rule of Civil Procedure 55(a) and Local Rule 55.l(a).

                                                                                                Vanessa Waldref
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               BRIAN J. WAID
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Case 1:21-cv-03126-TOR   ECF No. 10-1   filed 02/15/22   PageID.67 Page 3 of 6
               Case
2/2/22, 11:22 AM      1:21-cv-03126-TOR             ECF No. USPS.com®
                                                            10-1 filed    02/15/22
                                                                      - USPS             PageID.68 Page 4 of 6
                                                                             Tracking® Results




   USPS Tracking
                                            ®                                                                    FAQs   




                                                  Track Another Package          +




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   Tracking Number: 70162070000003174947

   Your item was delivered to an individual at the address at 11:41 am on January 31, 2022 in
   SEATTLE, WA 98136.

   USPS Tracking Plus™ Available                  




                                                                                                                        Feedback
     Delivered, Left with Individual
   January 31, 2022 at 11:41 am
   SEATTLE, WA 98136


   Get Updates         




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       Text & Email Updates


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       Tracking History


       January 31, 2022, 11:41 am
       Delivered, Left with Individual
       SEATTLE, WA 98136
       Your item was delivered to an individual at the address at 11:41 am on January 31, 2022 in SEATTLE, WA
       98136.



       January 30, 2022
       In Transit to Next Facility




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70162070000003174947                                                1/2
               Case
2/2/22, 11:22 AM      1:21-cv-03126-TOR             ECF No. USPS.com®
                                                            10-1 filed    02/15/22
                                                                      - USPS             PageID.69 Page 5 of 6
                                                                             Tracking® Results

       January 29, 2022, 7:28 am
       Departed USPS Regional Facility
       SEATTLE WA DISTRIBUTION CENTER



       January 28, 2022, 11:05 am
       Arrived at USPS Regional Facility
       SEATTLE WA DISTRIBUTION CENTER



       January 27, 2022, 4:15 am
       Departed USPS Regional Facility
       SPOKANE WA DISTRIBUTION CENTER



       January 26, 2022, 6:26 pm
       Arrived at USPS Regional Facility
       SPOKANE WA DISTRIBUTION CENTER




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       USPS Tracking Plus™


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       Product Information



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                          Go to our FAQs section to find answers to your tracking questions.


                                                                   FAQs




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70162070000003174947                                             2/2
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